                               NO. 07-12-0536-CV
                                       
                            IN THE COURT OF APPEALS
                                       
                       FOR THE SEVENTH DISTRICT OF TEXAS
                                       
                                  AT AMARILLO
                                       
                                    PANEL A
                                       
                               JANUARY 16, 2013
                                       
                        ______________________________
                                       
                                       
                          IN RE RICKY MEALS, RELATOR
                                       
                        ______________________________
                                       
                                       
                              ORIGINAL PROCEEDING
ARISING OUT OF PROCEEDINGS BEFORE THE 64TH DISTRICT COURT OF HALE COUNTY; NO. B 17074-0701; HONORABLE ROBERT W. KINKAID, JR., JUDGE
                                       
                        _______________________________

Before CAMPBELL and HANCOCK and PIRTLE, JJ.
                              MEMORANDUM OPINION
	Relator, Ricky Meals, an inmate proceeding pro se and in forma pauperis, seeks a writ of mandamus to compel Debra Smith, Official Court Reporter for the 64th District Court of Hale County, Texas, to provide him with a copy of the reporter's record of plea proceedings in trial court cause number B 17074-0701.  We dismiss this proceeding for want of jurisdiction.
This Court has the authority to issue writs of mandamus necessary to (1) enforce our jurisdiction, (2) against a judge of a district or county court in our district, or (3) against a district judge who is acting as a magistrate at a court of inquiry under chapter 52 of the Texas Code of Criminal Procedure.  See Tex. Gov't Code Ann.  22.221(a) and (b) (West 2004).  Additionally, a writ of mandamus is an order directed personally to the respondent.  In re Roseland Oil &amp; Gas, Inc., 68 S.W.3d 784, 786 (Tex.App.--Eastland 2001, orig. proceeding).  The named Respondent herein, Debra Smith, is the Official Court Reporter for the 64th District Court of Hale County, not an official over which this Court has authority.  Consequently, this Court has no jurisdiction to consider a request for mandamus relief against Ms. Smith. 
	Accordingly, Relator's application for mandamus relief is dismissed for want of jurisdiction.
Patrick A. Pirtle
							      Justice






